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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 IN RE: FTX COLLAPSE LITIGATION                  MDL Docket: Pending No. 4


                PETITIONERS’ MOTION TO CORRECT PROOF OF SERVICE

       Petitioners, Edwin Garrison, Gregg Podalsky, Skyler Lindeen, Alexander Chernyavksy,

Sunil Kavuri, Gary Gallant, and David Nicol (the “Petitioners”) hereby move for leave to file the

corrected Proof of Service of their Motion for Transfer of Related Actions to the Southern District

of Florida, attached as Exhibit A. In support of the motion, Petitioners state:

       1.      On February 10, 2023, Petitioners filed their Motion for Transfer of Related

Actions to the Southern District of Florida. Accompanying that motion was Petitioners’ Brief in

Support, a Schedule of Actions, and a Proof of Service.

       2.      Pursuant to Rule 6.1(b)(iv) of the Rules of Procedure of the United States Judicial

Panel on Multidistrict Litigation, Petitioners attached to the Proof of Service “a copy of all

complaints and docket sheets for all actions listed on the Schedule.” The docket sheets provided

by Petitioners were obtained from Westlaw.

       3.      The JPML Case Administrator contacted petitioners and advised that the docket

sheets should come from PACER, not Westlaw, and that the attached Corrected Proof of Service

should be filed with this motion, attaching the docket sheets from PACER instead.

       Accordingly, the Petitioners respectfully requests that the Panel grant this motion and grant

Petitioner leave to file the attached Corrected Proof of Service.
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                                                          In re: FTX Collapse Litigation


Dated: February 15, 2023                    Respectfully submitted,

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